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      In The United States Court of Federal Claims
                                           No. 07-206C

                                       (Filed: June 19, 2009)
                                            __________
 LUBLIN CORPORATION, t/a CENTURY 21,
 ADVANTAGE GOLD,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

       Today, plaintiff filed an unopposed motion seeking to extend the current June 30, 2009
discovery deadline by seventy-five days to September 14, 2009. The motion is hereby
GRANTED. Accordingly,

       1.       On or before September 14, 2009, discovery shall be completed; and

       2.       On or before September 28, 2009, the parties shall file a joint status report
                indicating how this case should proceed.

       IT IS SO ORDERED.


                                                              s/ Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
